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                    BEFORE THE UNITED STATES JUDICIAL PANEL ON
                            MULTIDISTRICT LITIGATION


    In re: COVID-19 Business Interruption
    Insurance Coverage Litigation                               MDL No. _______________



               BRIEF IN SUPPORT OF MOTION FOR TRANSFER AND
             COORDINATION OR CONSOLIDATION UNDER 28 U.S.C. §1407

I.       INTRODUCTION

         Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Movants LH Dining L.L.C., doing business as River Twice Restaurant

(“River Twice”), and Newchops Restaurant Comcast LLC, doing business as Chops (“Chops”)

(collectively, “Movants”), respectfully submits this brief in support of their Motion for Transfer

of Actions Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings.

The River Twice and Chops lawsuits,1 filed in the Eastern District of Pennsylvania, along with the

other similar lawsuits filed in other federal courts,2 arise out of the COVID-19 pandemic. In


1
 See LH Dining L.L.C., doing business as River Twice Restaurant v. Admiral Indemnity Company, Civil
Action No. 2:20-cv-01869 (E.D.Pa.) (TJS), filed April 10, 2020; Newchops Restaurant Comcast LLC, doing
business as Chops v. Admiral Insurance Company, Civil Action No. 2:20-cv-01949 (E.D.Pa.), filed April
17, 2020.
2
  As of April 20, 2020, Movants were able to identify nine additional related actions filed in federal court:
(1) Big Onion Tavern Group, LLC, et al. v. Society Ins., Inc., Civil Action No. 1:20-cv-02005 (N.D. Ill.)
(EEC), filed March 27, 2020; (2) Billy Goat Tavern I, Inc., et al., and all others similarly situated, v. Society
Insurance, Civil Action No. 1:20-cv-2068 (N.D. Ill.) (HDL), filed Mar. 31, 2020 (3) El Novillo Restaurant
d/b/a DJJ Restaurant Corp., et al., on behalf of themselves and all others similarly situated v. Certain
Underwriters at Lloyd’s London, et al., Civil Action No. 1:20-cv-21525 (S.D. Fla.) (UU), filed April 9,
2020; (4) Gio Pizzeria & Bar Hospitality LLC, et al., individually and on behalf of all others similarly
situated, v. Certain Underwriters at Lloyd’s, London, Civil Action No. 1:20-cv-03107 (S.D.N.Y.), filed
April 17, 2020; (5) Rising Dough Inc., et al., individually and on behalf of all others similarly situated, v.
Society Insurance, Civil Action No. 2:20-cv-00623 (E.D. Wis.), filed April 17, 2020; (6) Bridal Expressions
LLC, individually and on behalf of all others similarly situated, v. Owners Insurance Co., Civil Action No.
1:20-cv-00833 (N.D. Ohio) (SO), filed April 17, 2020; (7) Caribe Restaurant & Nightclub Inc., individually
and on behalf of all others similarly situated, v. Topa Insurance Company, Civil Action No. 2:20-cv-03570
(C.D. Cal.), filed April 17, 2020; (8) Dakota Ventures LLC d/b/a Kokopelli Grill and Coyote BBQ Pub,
individually and on behalf of all others similarly situated, v. Oregon Mutual Insurance Co., Civil Action
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response to the threat to public safety posed by the COVID-19 pandemic, governmental authorities

at the national level, the state level, the county level and the local level have issued various orders

that, in one form or another, closed non-essential businesses and/or mandated that individuals must

“stay at-home” (“Governmental Orders”).3 The Actions seek recovery of the losses sustained by

businesses as a result of these government-mandated closures through the plaintiffs’ business

interruption insurance policies.

        This issue – whether business interruption insurance policies will cover losses incurred by

businesses forced to shutter their business as a result of the Governmental Orders – is one of

national importance and great significance to the ultimate survival of many businesses. It is of

such importance that the issue was discussed by the President during his April 10, 2020 press

conference where he said “[y]ou have people that have never asked for business interruption

insurance [payouts] and they’ve been paying a lot of money for a lot of years for the privilege of

having it. And then when they finally need it, the insurance company says ‘we’re not going to give

it.’ We can’t let that happen.”4 Addressing this issue in a uniform manner as opposed to potentially

disparate treatment by different courts throughout the country helps to serve one of the main



No. 3:20-cv-00630 (D. Or.) (MAH), filed April 17, 2020; and (9) Christie Jo Berkseth-Rojas DDS
individually and on behalf of all others similarly situated, v. Aspen American Insurance Co., Civil Action
No. 3:20-cv-00948 (N.D. Tex.) (SAF), filed April 17, 2020. All cases are listed on the Schedule of Actions
filed herewith and are collectively referred to herein as the “Actions.” The Complaints (without exhibits)
and their related docket sheets are attached hereto as Exhibits “1” through “11.”
3
  The impact of these Governmental Orders will be felt for some time as the process of easing restrictions
will be gradual. On April 16, 2020, President Trump announced guidelines for ending lockdowns and stay-
at-home orders due to the coronavirus pandemic although the decision as to when these restrictions will be
lifted are left to the individual Governors and states. Ultimately, the guidance provides for a three-phase
approach to easing restrictions. See Seren Morris, Trump’s 3 Phase Plan to Reopen America’s Economy
Explained, April 17, 2020, https://www.newsweek.com/donald-trump-opening-america-again-lockdown-
coronavirus-guidelines-1498518, last accessed April 17, 2020.
4
 See Maegan Vazquez, Trump says businesses should get paid out for coronavirus interruption claims,
April      10,       2020,      https://www.cnn.com/world/live-news/coronavirus-pandemic-04-10-
20/h_54cb71ae057fc9aeaa7a947373a86a6c, last accessed April 16, 2020.

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purposes of Section 1407. Utilizing such transfer and consolidation or coordination on an issue of

such national significance is prudent.

       Therefore, Movants seek the transfer and assignment of the Actions, which all seek a

finding that the Governmental Orders trigger coverage under the plaintiffs’ business interruption

insurance policies, to the Eastern District of Pennsylvania, as well as any actions subsequently

filed involving similar facts or claims. Movants also seek that, once transferred, the Actions, and

any future tag-along actions, be assigned to the Honorable Timothy J. Savage, United States

District Court Judge for the Eastern District of Pennsylvania, who is currently presiding over both

the River Twice and Chops actions.

II.    BACKGROUND

       A little over six-months ago, spearheaded by James Beard-nominated chef Randy Rucker,

the quaint River Twice restaurant opened in Philadelphia as a critical success labelled as a

“sophisticated new arrival” that was “a Philly debut worth celebrating.”5          Now, merely five

months into its existence, it has been forced to close its doors as the result of Governmental Orders

entered in an effort to mitigate the devastating health effects of the COVID-19 pandemic. Chops,

a staple since 1995 currently housed in the landmark Comcast Center directly in the heart of the

business district in Center City Philadelphia has suffered a similar fate as a direct result of the

Government Orders. Both River Twice and Chops brought their actions seeking to ensure that

they could receive coverage for the losses incurred as a result of these Governmental Orders

through their business interruption policies.




5
 See Craig LaBan, River Twice review: A Texas star chef relocates magic to South Philly, Jan. 24, 2020,
https://www.inquirer.com/food/craig-laban/river-twice-review-east-passyunk-randy-rucker-craig-laban-
20200124.html, last accessed April 15, 2020.

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        Unfortunately, while River Twice and Chops are just two restaurants in one city, this very

same issue is transpiring in every corner of the country. To date, nine additional Actions seeking

similar relief in federal court have been filed – two in the Northern District of Illinois, and one

each in the Southern District of Florida, Southern District of New York, Eastern District of

Wisconsin, Northern District of Ohio, Central District of California, District of Oregon, and

Northern District of Texas – and most certainly an avalanche of cases will follow as the losses

mount and coverage denials stream in.6 And those cases will span the entire economy including

not only businesses in the restaurant and hospitality sector, but also those in retail, manufacturing,

real estate, professional services, and numerous aspects of the gig economy, just to name a few.

This is a monumental issue.

        The national and in fact, global, impact of the COVID-19 pandemic is unquestionable. As

a result of the pandemic, forty-two states, along with Guam, Washington, D.C., and Puerto Rico,

have issued stay at-home orders; two additional states – Iowa and North Dakota – while not issuing

stay at-home orders have ordered nonessential businesses to close (a step usually taken as a

precursor to the stay at-home orders); and many cities and counties in areas without such stay at-




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  Movants are aware of at least 9 cases that have been filed in state court making similar allegations: (1)
Cajun Conti, LLC, et al. v. Certain Underwriters at Lloyd’s London, et al., Civil District Court for the
Parish of Orleans, Louisiana (filed Mar. 16, 2020); (2) French Laundry Partners LP, et al. v. Hartford Fire
Insurance Co., et al., Superior Court of the State of California, County of Napa (filed Mar. 31, 2020); (3)
Chickasaw Nation Department of Commerce v. Lexington Insurance Co., et al., District Court of Pontotoc
County, Oklahoma (filed Mar. 24, 2020); (4) Choctaw Nation of Oklahoma v. Lexington Insurance Co.,
District Court of Bryan County, Oklahoma (filed Mar. 24, 2020); (5) John’s Grill, Inc., et al. v. The Hartford
Financial Serv. Group, Inc., et al., Superior Court of the State of California, County of San Francisco (filed
April 15, 2020); (6) Proper Ventures, LLC d/b/a Proper Twenty-One v. Seneca Ins. Co. Inc., et al., Superior
Court of the District of Colombia, Civil Division (filed April 8, 2020); (7) Indiana Repertory Theatre, Inc.
v. The Cincinnati Casualty Co., Case No. 49D01-2004-PL-013137, State of Indiana, In the Marion County
Superior Court (filed April 3, 2020); (8) Barbara Lane Snowden, DGA Hair Goals Club v. Twin City Fire
Insurance Co., No. 2020-19538, Court 113, District Court for Harris County, Texas (Humble) (filed approx.
April 8, 2020); and (9) Collectivo Coffee Roasters, Inc., et al. v. Society Insurance, State of Wisconsin
Circuit Court, Milwaukee County (filed April 16, 2020).

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home orders have imposed similar restrictions on a local level.7 All totaled, since April 7, 2020,

at least approximately “306.3 million people, or about 94.5% of the US population” have been

living under a stay at-home order.8 All across the nation, non-essential business of all kinds have

incurred huge losses and been financially devastated. It was reported that for March, when the

Governmental Orders went into effect starting in mid-month, “retail sales fell 8.7%, a record drop,

. . . ‘Nobody is buying cars, down 25.6%, nobody is buying furniture, down 26.8%, and eating and

drinking places were down 26.5%.’”9 And this was just the beginning.

          Much like River Twice and Chops, and the plaintiffs in the other Actions, business across

the nation, in all industries, will be seeking coverage for losses under their business interruption

policies. It is anticipated that insurers will be looking for strained interpretations of policy

language and exclusions to deny that coverage. While some actions may contain various causes

of action such as breach of contract or bad faith insurance practices, they all ultimately share, and

will share, the key core factual question – do the Governmental Orders trigger coverage under the

business interruption insurance policies and do any exclusions (particularly those related to viruses

or pandemics apply). This central question is too important to the survival of the insured businesses

and indeed, to the recovery of the economy as a whole, to leave to various courts across the country

that could reach divergent and conflicting results.

          While the pandemic has unquestionably deeply impacted every corner of the nation, as

evidenced by the geographical breadth of the filings thus far, the Eastern District of Pennsylvania


7
  Holly Secon and Aylin Woodward, About 95% of Americans have been ordered to stay at home. This map
shows which cities and states are under lockdown, April 7, 2020, https://www.businessinsider.com/us-map-
stay-at-home-orders-lockdowns-2020-3, last accessed April 15, 2020.
8
    Id.
9
  Patti Domm, The economic data is even worse than Wall Street feared: ‘The economy is clearly in ruins
here’, April 15, 2020, https://www.cnbc.com/2020/04/15/the-economic-data-is-even-worse-than-wall-
street-feared-the-economy-is-clearly-in-ruins-here.html, last accessed April 15, 2020.

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would be an excellent and appropriate forum for this litigation.            The Eastern District of

Pennsylvania is an excellent court with vast experience successfully managing multidistrict

litigation. In addition, headquartered in Philadelphia, the Eastern District of Pennsylvania is easily

accessible, and it is centrally located within the Northeastern corridor among some of the states,

from Massachusetts to Washington, DC, that have been hardest hit by the pandemic. Finally,

Philadelphia itself has a strong factual connection to the litigation. Not only has its entire economy

come to a screeching halt but with its deep roots in American history and vibrant restaurant scene,10

Philadelphia’s economy relies heavily on many of the tourism-related businesses, such as travel,

hotels and restaurants, that have been particularly hard hit by the closures resulting from COVID-

19. Transfer to the Eastern District of Pennsylvania for consolidated or coordinated pretrial

proceedings before the Honorable Timothy J. Savage, United States District Court Judge for the

Eastern District of Pennsylvania, is warranted.

III.   ARGUMENT

       A.      TRANSFER OF THE ACTIONS TO ONE COURT FOR CONSOLIDATION
               OR COORDINATION IS APPROPRIATE UNDER 28 U.S.C. § 1407.

       The purpose of multidistrict litigation is to “eliminate the potential for conflicting

contemporaneous pretrial rulings by coordinate district and appellate courts in multidistrict related

civil actions.” In re Plumbing Fixture Cases, 298 F. Supp. 484, 491-92 (J.P.M.L. 1968). Transfer

of related actions to a single district for pretrial proceedings “eliminate[s] duplicative discovery;

prevent[s] inconsistent pretrial rulings; and conserve[s] the resources of the parties, their counsel,




10
   See, e.g., Tara Nurin, Why Philadelphia's Food Scene Is Finally Getting Top Honors, May 30, 2019,
https://www.forbes.com/sites/taranurin/2019/05/30/the-best-city-for-dining-this-month-is/#30cd070053fa,
last accessed April 15, 2020; Amanda Marcotte, Move over, NYC — Philly's food scene is the hotness,
May 12, 2019, https://www.salon.com/2019/05/12/move-over-nyc-phillys-food-scene-is-the-hotness/, last
accessed April 15, 2020.

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and the judiciary.” In re Ethicon Physiomesh Flexible Composite Hernia Mesh Prod. Liab. Litig.,

245 F. Supp. 3d 1381, 1382 (J.P.M.L. 2017).

       Pursuant to 28 U.S.C. § 1407, transfer of actions to one district for coordinated or

consolidated pretrial proceedings is appropriate where: (1) actions pending in different districts

involve one or more common questions of fact, and (2) the transfer of such actions will be for the

convenience of the parties and witnesses and will promote the just and efficient conduct of such

actions. 28 U.S.C. § 1407(a). Consolidation is especially important in multidistrict litigations

where “the potential for conflicting, disorderly, chaotic” action is greatest. In re Plumbing Fixture

Cases, 298 F. Supp. at 493. Here, there are already eleven pending federal actions in nine districts

and many more to come. Inconsistent judicial rulings in an area of significant national importance

is precisely the type of disorderly and chaotic action that consolidation and coordination under

Section 1407 was intended to prevent.

       The transfer of the Actions to the same court for consolidated or coordinated proceedings

is appropriate here because common questions of law and fact exist, and consolidation or

coordination before one court will ensure efficient management of the litigation and avoid

inconsistent rulings on this issue of national importance.

               1.      The Actions Involve Common Factual and Legal Issues.

       Here, all of the Actions, and any tag-along actions, will require a determination of whether

the various COVID-19 Governmental Orders trigger coverage under plaintiffs’ business

interruption policies and if so, whether any exclusions apply. Section 1407 does not require a

majority of common factual issues as a condition for transfer, only that there are common questions

presented which justify consolidation and coordination. See, e.g., In re Ins. Brokerage Antitrust

Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005) (“To those defendants opposing transfer

because they wish to litigate the arguably narrower or more questionable claims against them
                                                 7
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without entanglement in a litigation that they consider to be much broader in scope, we point out

that transfer under Section 1407 does not require a complete identity or even majority of common

factual issues as a prerequisite to transfer.”).

        The fact that the Actions do, and the tag-along actions will, involve different,

geographically dispersed defendants with slightly different policy language in disparate industries

does not preclude consolidation or coordination here because the central issue – whether business

closures resulting from government orders triggers coverage under business interruption policies

– will be the same across all cases. See, e.g., In re: Checking Account Overdraft Litig., 626 F.

Supp. 2d 1333, 1335 (J.P.M.L. 2009) (“While there will be some unique questions of fact from

bank-to-bank, these actions share sufficient factual questions relating to industry-wide bank

posting policies and procedures to warrant centralization of all actions in one MDL docket.”); In

re National Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379 (J.P.M.L. 2017) (“Although

individualized factual issues may arise in each action, such issues do not – especially at this early

stage of litigation – negate the efficiencies to be gained by centralization.”). The Panel and

transferee courts have routinely dealt with complexities including plaintiffs with varied claims and

injuries, geographically disparate defendants, and multiple defendants whose conduct may not be

identical. See, e.g., In re: Checking Account Overdraft Litig., 626 F. Supp. 2d at 1335; In re

National Prescription Opiate Litig., 290 F. Supp. 3d at 1379; In re Sugar Industry Antitrust Litig.,

427 F. Supp. 1018, 1020-21 (J.P.M.L. 1977) (creating bifurcated east-west MDL to, among other

things, accommodate claims against eastern and western defendants); In re Managed Care Litig.,

2000 WL 1925080, at *2 (J.P.M.L. Oct. 23, 2000) (consolidating multiple actions against disparate

defendants over defendants’ objection that the actions should be separate consolidated MDLs

organized by defendant); In re Silicone Gel Breast Implants Prod. Liab. Litig., 793 F. Supp. 1098,



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1099-1100 (J.P.M.L. 1992) (transfer and centralization of claims against multiple defendants by

plaintiffs claiming different injuries); In re Orthopedic Bone screw Prod. Liab. Litig., 1997 WL

186325, at *1-2 (E.D.Pa. April 16, 1997) (more than 2,000 civil actions including claims of

different types of injuries caused by products manufactured by dozen of defendants).

        What is important and what is relevant to the Panel’s decision is that transfer and

consolidation or coordination to provide a consistent and uniform resolution to the common factual

issues will facilitate the efficient adjudication of all the Actions even considering any differences

that may exist. “[T]ransfer under Section 1407 has the salutary effect of placing all actions in th[e]

docket before a single judge who can formulate a pretrial program that: 1) allows discovery with

respect to any non-common issues to proceed concurrently with discovery on common issues, In

re Joseph F. Smith Patent Litigation, 407 F. Supp. 1403, 1404 (Jud.Pan.Mult.Lit.1976); and 2)

ensures that pretrial proceedings will be conducted in a manner leading to a just and expeditious

resolution of the actions to the benefit of not just some but all of the litigation’s parties.” In re Ins.

Brokerage Antitrust Litig., 360 F. Supp. 2d at 1372; see also In re: Checking Account Overdraft

Litig., 626 F. Supp. 2d at 1335. The common questions of law and fact that are implicated here

are of national importance and weigh heavily in favor of consolidation and coordination.

                2.      Transfer Will Serve the Convenience of the Parties
                        and Witnesses and Will Promote the Just and
                        Efficient Conduct of the Actions.

        There are currently eleven pending Actions in nine different districts but those numbers are

sure to rise rapidly.11 Each Action involves overlapping factual questions described above and


11
   Eleven actions are more than enough to warrant transfer and coordination or consolidation in light of the
questions at issue here. See, e.g., Manual for Complex Litigation Fourth § 20.131, at * 1 (“As few as two
cases may warrant multidistrict treatment …”); In re Dynamic Random Access Memory (DRAM) Antitrust
Litig., 228 F. Supp. 2d 1379, 1380 (J.P.M.L. 2002) (transferring and consolidating two cases); In re
Philadelphia Life Ins. Co. Sales Practices Litig., 149 F. Supp. 2d 937, 938 (J.P.M.L. 2001) (granting
transfer and consolidation of two cases); In re Amoxicillin Patent & Antitrust Litig., 449 F. Supp. 601, 603
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other similar pretrial issues. Consolidation or coordination will eliminate the likelihood of

duplicative discovery and duplicative proceedings that might result in inconsistent rulings and will

prevent judicial resources from being needlessly wasted. See In re Vioxx Prod. Liab. Litig., 360

F. Supp. 2d 1352, 1354 (J.P.M.L. 2005); see also In re Amino Acid Lysine Antitrust Litig., 910 F.

Supp. 696, 698 (J.P.M.L. 1995) (concluding that consolidation was necessary to eliminate

inconsistent pretrial rulings); In re A.H. Robins Co. “Dalkon Shield” IUD Prod. Liab. Litig., 406

F. Supp. 540, 542 (J.P.M.L. 1975) (concluding that transfer was necessary to prevent duplication

of discovery and to eliminate the possibility of conflicting pretrial rulings).

        Without transfer, coordination, and/or consolidation of the Actions and tag-along cases,

litigation will needlessly entail judicial inefficiency and unnecessary expense. Further, different

federal courts, in duplicating rulings on the same issues, could make contradictory findings.

Litigation of this scope and importance should not be beset with such inconsistencies and

inefficiencies.

        B.        THE EASTERN DISTRICT OF PENNSYLVANIA IS THE APPROPRIATE
                  FORUM FOR TRANSFER AND CONSOLIDATION.

        The Eastern District of Pennsylvania, in Philadelphia, is the appropriate transferee district

for this litigation. First, Philadelphia has a strong factual connection to the litigation. See In re

National Prescription Opiate Litig., 290 F. Supp. 3d at 1379. It is one of the urban areas that have

been particularly hard hit by the COVID-19 pandemic. Second, the Governmental Orders have

wreaked havoc on its economy, only exacerbated by the fact that Philadelphia’s unique place in




(J.P.M.L. 1978) (granting transfer and consolidation of three cases involving complex patent and antitrust
issues); In re: Park W. Galleries, Inc., Mktg. & Sales Practices Litig., 645 F. Supp. 2d 1358, 1360 (J.P.M.L.
2009) (transfer ordered where three actions were pending in three districts); In re FieldTurf Artificial Turf
Mktg. & Sales Practices Litig., 2017 WL 2391963, at *2 (J.P.M.L. June 1, 2017) (transfer ordered where
twelve to fourteen actions (including tag-alongs) were pending in nine districts).

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American history has heightened its reliance on the hard-hit tourism and restaurant industries.

Surely, the Governmental Order will give rise to numerous cases like those brought by River Twice

and Chops across every sector of the Philadelphia economy.

       In addition, the Eastern District of Pennsylvania is a geographically central and accessible

forum for many of the Northeastern states that have been hit the hardest by the COVID-19

pandemic ranging from Massachusetts through Washington, DC. See id. (focusing on the Southern

District of Ohio’s geographic location and convenience). It is easily accessible by Amtrak from

all of those locations and as the fifth largest city in the United States, it has ample accommodations

for business travelers. Philadelphia is also serviced by Philadelphia International Airport (“PHL”),

a large international airport with routes to every corner of the country and beyond.             The

infrastructure is certainly in place to host this MDL.

       In addition, the Eastern District of Pennsylvania has capable staff with a long history of

successfully managing high-profile multidistrict litigation. See, e.g., In re Diet Drugs

(Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 990 F. Supp. 834 (J.P.M.L.

1998); In re Tylenol (Acetaminophen) Mktg., Sales Practices and Prods. Liab. Litig., 936 F. Supp.

2d 1379 (J.P.M.L. 2013); In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 856 F. Supp.

2d 1347 (J.P.M.L. 2012); In re: Nat’l Football League Players’ Concussion Injury Litig., 842 F.

Supp. 2d 1378 (J.P.M.L. 2012); In re Orthopedic Bone screw Prod. Liab. Litig., 1997 WL 186325,

at *1-2. The Eastern District of Pennsylvania’s docket demonstrates that the court has the capacity

to handle this litigation. As of December 31, 2019, the Eastern District of Pennsylvania had 8,704

pending cases with a median time from filing to disposition of 6 months.12


12
      See   United     States    District     Court     –    Judicial   Caseload    Profile,  at  16,
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2019.pdf, at 16, last
accessed April 16, 2020.

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        Within the Eastern District of Pennsylvania, United States District Judge Timothy J.

Savage is an excellent jurist who can shepherd this litigation. Judge Savage is currently presiding

over two of the eleven cases that have been filed. Judge Savage is an experienced jurist who was

appointed to the bench by President George W. Bush in 2002. Judge Savage is a fair, demanding

but reasonable, extremely organized, and efficient judge accustomed to presiding over complex

and multi-plaintiff, multi-defendant cases. Judge Savage is not currently managing any MDLs on

his docket and to the best of Movants’ knowledge, has not presided over any MDLs during his

lengthy tenure. See In re Fisher-Price Rock ’N Play Sleeper Mkt., Sales Practices, and Prod. Liab.

Litig., 412 F. Supp. 3d 1357, 1360 (J.P.M.L. 2019) (choice of particular district allowed the Panel

“to assign this litigation to an able jurist who has not yet had the opportunity to preside over an

MDL”); see also In re Vision Service Plan Tax Litig., 484 F. Supp. 2d 1356, 1357 (J.P.M.L. 2007)

(“we are assigning this litigation to an experienced jurist with the ability to steer this litigation on

a prudent course”).

IV.     CONCLUSION

        For these reasons, Movants respectfully request that the Panel grant its motion for transfer

and coordination or consolidation under 28 U.S.C. § 1407 and transfer the Actions to the Eastern

District of Pennsylvania before the Honorable Judge Timothy J. Savage.



Dated: April 20, 2020                           Respectfully submitted,


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                          Newchops Restaurant Comcast LLC, doing business
                          as Chops




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